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                                                                        2008 Jul-08 PM 03:44
                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          WESTERN DIVISION

PENNY ALLEN,                      ]
                                  ]
     Plaintiff,                   ]
                                  ]
     vs.                          ]     7:06-CV-2150-LSC
                                  ]
DOLGENCORP, INC., et al.,         ]
                                  ]
     Defendants.                  ]


BERYL DAUZAT,                     ]
                                  ]
     Plaintiff,                   ]
                                  ]
     vs.                          ]     7:06-CV-2160-LSC
                                  ]
DOLGENCORP, INC., et al.,         ]
                                  ]
     Defendants.                  ]


DEBORAH FRANCIS,                  ]
                                  ]
     Plaintiff,                   ]
                                  ]
     vs.                          ]     7:06-CV-2164-LSC
                                  ]
DOLGENCORP, INC., et al.,         ]
                                  ]
     Defendants.                  ]



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REGINA FRANKLIN,                  ]
                                  ]
     Plaintiff,                   ]
                                  ]
     vs.                          ]     7:06-CV-2165-LSC
                                  ]
DOLGENCORP, INC., et al.,         ]
                                  ]
     Defendants.                  ]


MICHAEL HADAWAY,                  ]
                                  ]
     Plaintiff,                   ]
                                  ]
     vs.                          ]     7:06-CV-2171-LSC
                                  ]
DOLGENCORP, INC., et al.,         ]
                                  ]
     Defendants.                  ]


CATHY THOMAS,                     ]
                                  ]
     Plaintiff,                   ]
                                  ]
     vs.                          ]     7:06-CV-2204-LSC
                                  ]
DOLGENCORP, INC., et al.,         ]
                                  ]
     Defendants.                  ]




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WANDA WOMACK,                        ]
                                     ]
      Plaintiff,                     ]
                                     ]
      vs.                            ]            7:06-CV-2213-LSC
                                     ]
DOLGENCORP, INC., et al.,            ]
                                     ]
      Defendants.                    ]

                    MEMORANDUM OF OPINION AND ORDER

      The above cases are before this Court on remand from the Eleventh

Circuit Court of Appeals. The Eleventh Circuit Court of Appeals vacated the

summary judgements entered by this Court in these cases and directed that

this Court reconsider them in light of its recent decision in Rodriguez v. Farm

Stores Grocery, Inc., 518 F.3d 1259 (11th Cir. 2008).

      After considering Rodriguez and “constru[ing] all reasonable inferences

from the evidence in the light most favorable to the nonmoving party. . . .”

Hogan v. Allstate Ins. Co., 361 F.3d 621, 625 (11th Cir. 2004), it is the opinion

of this Court that summary judgment is due to be and hereby is DENIED.

            Done this 8th day of July 2008.




                                              L. SCOTT COOGLER
                                         UNITED STATES DISTRICT JUDGE
                                                              151277


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